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 8 Attorneys for Plaintiff Persian Gulf Inc.
 9 [Additional counsel appear on signature page.]
10                      UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
12 PERSIAN GULF INC., Individually )           Case No. 3:15-cv-01749-JO-AGS
   and on Behalf of All Others Similarly )
13 Situated,                              )    CLASS ACTION
                            Plaintiff,    )
14                                        )
           vs.                            )
15 BP WEST COAST PRODUCTS LLC, )
   et al.,                                )
16                                        )
                            Defendants. )
17                                        )
   RICHARD BARTLETT, et al.,              )    Lead Case No. 18-cv-01374-JO-AGS
18 Individually and on Behalf of All      )    (consolidated with No. 18-cv-01377-JO-
   Others Similarly Situated,             )    AGS)
19                                        )
                            Plaintiffs,   )    CLASS ACTION
20         vs.                            )
                                          )
21 BP  WEST    COAST   PRODUCTS      LLC, )
   et al.,                                )
22                          Defendants. ))
23                                        )
24    APPLICATION TO FILE UNDER SEAL PURSUANT TO LOCAL RULE 79.2
          AND THE PROTECTIVE ORDER ENTERED FEBRUARY 4, 2019
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27
28

     4855-1122-3570.v1
 1            Plaintiffs Persian Gulf Inc., Joshua Ebright, Paul Lee and David Rinaldi
 2 (“Plaintiffs”) hereby request permission to file under seal in their entirety:
 3 (1) Plaintiffs’ Opposition to Defendants’ Submission Regarding Slides in Plaintiffs’
 4 Summary Judgment Hearing Presentation (“Opposition”); (2) Exhibit A (Slides
 5 incorporating all changes as proposed by Plaintiffs) attached to the Opposition; and
 6 (3) Exhibits 1-79 attached to the declaration of Patrick J. Coughlin in support thereof,
 7 pursuant to Local Rule 79.2 and the Protective Order (ECF No. 184) entered on
 8 February 4, 2019.
 9            Under the Protective Order, the parties may designate certain documents as
10 “Confidential” or “Confidential – For Counsel Only” and restrict their dissemination
11 and disclosure. See ECF No. 184, ¶4. Any information or material which has been
12 designated as “Confidential” or “Confidential – For Counsel Only” may not be
13 disclosed publicly and may only be disclosed or made available to certain designated
14 persons, such as the Court and counsel for parties to this action. See id.
15            Plaintiffs’ Opposition and Exhibits A and Exhibits 1-79 quote documents on the
16 record that have be designated by Defendants as “Confidential” or “Confidential – For
17 Counsel Only” pursuant to the Protective Order.
18            Plaintiffs therefore request permission to file under seal in their entirety
19 Plaintiffs’ Opposition and Exhibits A and Exhibits 1-79.
20 DATED: March 2, 2022                         ROBBINS GELLER RUDMAN
                                                 & DOWD LLP
21                                              PATRICK J. COUGHLIN
                                                ALEXANDRA S. BERNAY
22                                              CARMEN A. MEDICI
                                                LONNIE A. BROWNE
23
24                                                        s/ Patrick J. Coughlin
25                                                      PATRICK J. COUGHLIN
26                                              655 West Broadway, Suite 1900
                                                San Diego, CA 92101
27                                              Telephone: 619/231-1058
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28

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     4855-1122-3570.v1
 1
                                                 HARTLEY LLP
 2                                               JASON S. HARTLEY
                                                 101 West Broadway, Suite 820
 3                                               San Diego, CA 92101
                                                 Telephone: 619/400-5822
 4                                               619/400-5832 (fax)
 5                                               Attorneys for Plaintiff Persian Gulf Inc.
 6 Dated: March 2, 2022
 7                                                          s/ George C. Aguilar
                                                           GEORGE C. AGUILAR
 8
                                                 5040 Shoreham Place
 9                                               San Diego, CA 92122
10                                               Telephone: 619/525-3990
                                                 619/525-3991 (fax)
11
                                                 Attorneys for Plaintiffs David Rinaldi,
12                                               Joshua Ebright, and Paul Lee
13                              SIGNATURE CERTIFICATION
14            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
15 and Procedures Manual, I hereby certify that the content of this document is
16 acceptable to the above signatories, and that I have obtained each of the foregoing
17 person’s authorization to affix his or her electronic signatures to this document.
18
19
     Dated: March 2, 2022                                   s/ Patrick J. Coughlin
20                                                        PATRICK J. COUGHLIN
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